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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

STATE OF NEW YORK, et al.,                   )
                                             )
      Plaintiffs,                            )
                                             )
      v.                                     )      Case No. l:20-cv-5583-AKH
                                             )
U.S. DEPARTMENT OF HEALTH                    )
AND HUMAN SERVICES, et al.,                  )
                                             )
  Defendants. )
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  ..--[PROPOSED] ORDER GRANTING JOINT MOTION FOR AN EXTENSION OF
                    TIME TO FILE A JOINT PROPOSED SCHEDULE

        Having considered the parties' Joint Motion for an Extension of Time to File a Joint

 Proposed Schedule, it is hereby ORDERED that the motion is GRANTED. The parties shall

 file a joint proposed schedule to address any further proceedings in this case on or before July

 29, 2024.

           SO ORDERED.




                                                     JUDGE ALVINK. HELLERSTEIN
                                                     United States District Judge
